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   A091(Rev.0&09) Crimin:lC:mplaint

                                  UNITED STATESD ISTM CT COURT
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                                                                   Cas:N0, 19-@ 93-SNOW
              RICHARD LYLE GREENBERG


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                          Je@ant(&)
                                                 CRIM INAL COM PLAINT
           1,theccmplainantinthlscase.sutethattbefcllowing istruetothebestofmy knowlcdgeandbelief,
   Onorabotltthedatcls)of                 Octcber12.2019         inthecountyof               Brnward         inthe
      southern Districtof                   Fjcrl
                                                da       .thtdefendantls)violaled:
             CodeJec/fon                                              OfenseDescrl
                                                                                 ptlon
   Tltle18Uni tedStatesCodel                 Embezzlement,theftofgcvernmentfunds.
   Section 641




           Thiscriminalcomplalntisbasedonthesefacts:
                                                         See attached Affidaklt.




           W Continuedentheattachedsheet.

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   Cityandstate:                FortLauderdale,Florida                 Lurana S.Snow United StatesManistrateJudnq..--
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                                             Affidavit
             Youraffiant,D om inick L.Stokes,firstbeing duly sworn, statesasfollows:

         Your affiant has been employed as a Special Agent with the Social Security

         Administration (SSA),Ofsce ofthelnspectorGeneral(OIG),OfficeofInvestigations
         (01)sinceJanuary2006. Youraffantwasprcviouslycmployed by theSocialSecurity
         Administration,Oftkt ofDisability Income Security Program s,Oftice ofEmployment

         SupportProgram s as a PresidentialM anagem entFellow for two ycars. Your affiant is

         currently assigned to the SSA/OIG/OI/ATL/FO/ Lauderdale O ffice and has received

         specialized training regarding SocialSecurity crim inalviolations.

      2. Thisaffidavitismade in supportofa complaintcharging Richard Lyle Grcenberg with a

         violation of Title 18, Urfited States Code, Section 641, com m only referred to as

         Conversion,Em bezzlem ent,Theftof Govem m entFunds,These are not a1l of the facts

         known to your affiantbut those necessary for a determ ination of probable cause that a

         crim ehasbeen comm itted.

         Thisinvestigation w asinitiated when the OlG Florida Death M atch Auditdiscovered that

         SSA Rdirement Security lncome Title 2 bentficiary,Rose Greenberg,t

         (ROSE)died on 12/15/2004. However,herbeneûtscontinued to be directly deposited
         into her AN D HER SON 'S JOINT W ells Fargo Bank checking account num ber

         1019162680593 for a totalof$225,475.00 of improperpaym ents. Rose's son Itichard
         Lyle Greenberg,                  (GREENBERG)waslisted asPowerofAttorney and
         inform anton the death certificate. W ells Fargo Bank reported thatthe currentbalance in

        theaccountis$l,500.
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       4. On 08/19/2019,yourafsantreviewed the ofGcialState ofFlorida Death CertiGcate for

          Rose. This record shows thatRose died on 12/15/2004,atage 86,atAventura H ospital

          & M edicalCenter in M iam i-D ade County.The inform anton the death certifcate is her

          son,GREEN BERG .

          Y our affiant review ed various databases including DA VID , SSA ,N CIC and Accurint

          records for GM EN BERG . Based upon these records,GREEN BERG is a 67 year-old,

          Caucasian,m ale born in Chicago,IL on 01/12/1952. GREEN BERG resides at 10360

         NW 30th Courq APT 204,Sunrise,FL 33322-2030 and drivesa 1991Red Ford Pick Up

          Truck FL Tag num berHZ080A and a 2003 Cadillac FL Tag N um ber477YIU . Rose and

          GREENBERG both resided at10360NW 30th Courq APT 204,Sunrise,FL 33322-2030,

          This condom inium parcel number 49-41-30-JK-0140 was purchased by GR EEN BERG

         on 10/28/1994 for $64,000. GREENBERO filed a Hom estead exemption for this

         property.

      6. GREENBERG iscurrently receiving $871monthly in SocialSecurity Disabilitybenefits
         for(1850)MalignantNeoplasm oftheProstateand (7240)Disordersofthe Back. His
         beneûts are being directly deposited into his W E FLORJD A Fm AN CIA L Bank,

         chect ng account nunaber 267078325. GREEN BERG w orks for Involved People of

         Florida,Inc.and hasearned $2,055 in 2018,$2,013 in 2017,$2313 in 2016 and $4,196 in
         2015. GREENBERG hasalso worked forCohesiveNetworks,Inc.,Empire Staffing,Inc.

         and Leasing Recourses ofA m erica.

         GREEN BERG has an extensive crim inal history which includes m ultiple arrests and

         felony convictions: Possession of Cannabis, Kidnapèing, Aggravated Battery,
         Obstruction,loitering,Buying and Selling Cocaine,Probation V iolations,Possession of
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         Stolen Property, Tk eats, Extortion, Aggravated Stalking, Possession of Drug

         Paraphemalia,Trespassing,Aggravated Assaulton a Police Offcer,Driving underthe

         InfluenceofAlcohol,Resisting Arrest,Grand TheftAuto,Larceny,LeavingtheSceneof

         anAccidentwhichcausedlnjuryandtrafficviolations.
      8. On 08/21/2019,your affiantspoke to a W ellsFargo Bank Investigator who stated that

         G REEN BERG shared the checking account num ber 1010162680593 with his m other

         Rose. The lnvestigatorstated thatthe lastSSA paym cntsentin July 2019 rem ains in the

         account.The investigatorconfirmed theaccountbalanceof$1,500.

      9. On l0/16/2019,youraffiant,pursuantto a Grand Jury Subpoena,obtained and reviewed

         reviewed W ells Fargo Bnnk ATM Surveillance photos from 03/01/2019 and 05/03/2019

         showing GREENBERG withdrawing SocialSecurity Benefits from their joint bank
         accountthatwere fraudulently paid to his deccased mother Rose Greenberg. There are

         no othtr persons with access to this account. This account access took place in the

         Southern D istrictofFlorida.

      10.0 n 10/17/2019,your affantpursuantto a Grand Jury Subpoena,obtained and reviewed

         W ells Fargo Bank records which corresponded to the ATM Surveillance photos and

         conûrm ed that the ATM w ithdrawals corresponded to the statem ent records of

         withdrawals.

      11.On 10/17/2019, youraffiantpursuantto a Grand Jury Subpoena,obtained and review ed

         W ells Fargo Bank records and noted thatthere were additionalm onthly deposits on the

         account noted as M acy's Retirem ent Plan Paym entfor Rose Greenberg. Records show

         thatGREEN BERG also converted these fundsto his own use after hism other's death.




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                   12.GREENBERG has convertet approximately $225,475 in Soclal Security Retirement
                     Securfty Income payments aûerhis mother's dtath fiom 2004 to 2019 in violation nf

                     Title 18,United jtates Code, Section 6419 Conversion.Embezzement,Theh of
                     oovtrnmentFunds,


                   FURTHER YOUR AFFIANT SAYETH NAUOHT,




    z.e'.   -'''    om inick L.Stokes,SpecialAgent
    '              SSA/OIG/OI/ATL/FOM Lauderdal: Offlce



                   sworntoandsubscribedbeforemethisVC dayofoctober,2019.


                                             R

                        NA S.SNOW
                   UNITED STATES MAGISTRATE JUDGE




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